       Case 5:21-cv-00133-JKP-ESC Document 19 Filed 03/04/22 Page 1 of 5




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

SERITAGE SRC FINANCE, LLC,
              Plaintiff,
                                                      Civil Action No. 5:21-CV-00133-JKP
       v.

PAINTED TREE SAN ANTONIO, LLC and
PAINTED TREE MARKETPLACE, LLC,
             Defendants.


JOINT MOTION FOR ENTRY OF JOINT STIPULATED ORDER DISMISSING CASE
        WITH PREJUDICE AND ESTABLISHING PROCEDURES FOR
       RE-OPENING OF CASE FOR ENTRY OF CONSENT JUDGMENT

       Plaintiff Seritage SRC Finance, LLC (“Seritage”) and Defendants Painted Tree San

Antonio, LLC and Painted Tree Marketplace, LLC (the “Painted Tree Entities” and collectively

with Seritage, the “Parties”) have reached and entered into a First Amendment to Lease

resolving all disputes in this matter. As a part of this First Amendment to Lease, the Parties

hereby stipulate to and respectfully request that the Court sign and enter the Joint Stipulated

Order Dismissing Case with Prejudice and Establishing Procedures for Re-Opening of Case for

Entry of Consent Judgment (the “Proposed Order”) attached hereto as Exhibit A.

       Under the terms of the First Amendment to Lease, the Parties have stipulated to a

Consent Judgment, but they will only seek its entry in the event of a default of the Lease or First

Amendment to Lease within the first three hundred sixty-five (365) days after the Effective Date

of the First Amendment to Lease. The Parties believe entry of the Proposed Order will allow the

lawsuit to be resolved while at the same time providing assurances to the Court and each side

that further litigation and resources will not be required should a breach of the First Amendment

to Lease occur. The Parties also desire and consent to the Court retaining jurisdiction over this

matter for purposes of enforcing the First Amendment to Lease, should it become necessary.
      Case 5:21-cv-00133-JKP-ESC Document 19 Filed 03/04/22 Page 2 of 5


        March
                 4 2022
Dated: February ___,                        Respectfully Submitted,
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  /s/                                        /s/
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  Texas Bar No. 24091239
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  COLE SCHOTZ, P.C.
  901 Main Street, Suite 4120
  Dallas, Texas 75202
  Tel: (469) 557-9390
  Fax: (469) 533-1587

  ATTORNEYS FOR PLAINTIFF
  SERITAGE SRC FINANCE LLC




                                 CERTIFICATE OF SERVICE
                                                  March
                                       4th day of February 2022, a true and correct copy of the
       This is to certify that on this ___

above and foregoing instrument was forwarded via ECF to all parties of record.

                                                                      /s/ Ian Ross Phillips
                                                                      Ian Ross Phillips




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                 Exhibit A
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


SERITAGE SRC FINANCE, LLC,
              Plaintiff,
                                                      Civil Action No. 5:21-CV-00133-JKP
       v.

PAINTED TREE SAN ANTONIO, LLC and
PAINTED TREE MARKETPLACE, LLC,
             Defendants.


                  JOINT STIPULATED ORDER DISMISSING CASE
             WITH PREJUDICE AND ESTABLISHING PROCEDURES FOR
            RE-OPENING OF CASE FOR ENTRY OF CONSENT JUDGMENT

       Plaintiff Seritage SRC Finance, LLC (“Seritage”) and Defendants Painted Tree San

Antonio, LLC and Painted Tree Marketplace, LLC (the “Painted Tree Entities” and collectively

with Seritage, the “Parties”) having entered into a First Amendment to Lease resolving their

dispute and having stipulated to the entry of this Order; and the Court, after having been made

aware of the Parties’ desire to settle this matter and the First Amendment to Lease:

       IT IS HEREBY ORDERED that this case be dismissed with prejudice and without any

award of costs (except as specified by the Parties’ First Amendment to Lease) and that this case

be administratively closed.

       IT IS FURTHER ORDERED that upon the occurrence of a default under the First

Amendment to Lease, Seritage may file with this Court and shall serve upon the Painted Tree

Entities (a) an Affidavit of Default, and (b) a Notice of Reopening Case. Seritage shall further

provide notice to the Painted Tree Entities of any hearing, motion, or application to enter the

Stipulation and Consent Order so that the Painted Tree entities shall have the opportunity to

respond to any allegations of default made by Seritage.
      Case 5:21-cv-00133-JKP-ESC Document 19 Filed 03/04/22 Page 5 of 5




       This Court retains jurisdiction over this matter for the purpose of enforcing the First

Amendment to Lease, executed between the Parties, should enforcement become necessary.


                               March
SO ORDERED, this ______ day of February 2022.



                                                                     ______________________________
                                                                     JASON PULLIAM
                                                                     UNITED STATES DISTRICT JUDGE

         March
 Dated: February 4__, 2022                 Respectfully Submitted,
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 /s/                                        /s/
 Aaron Davidson                             Clint Buck
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 ATTORNEYS FOR PLAINTIFF
 SERITAGE SRC FINANCE LLC




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